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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:06CR376
                                             )
             Plaintiff,                      )
                                             )
             vs.                             )                    ORDER
                                             )
CHRISTINA ZAVODNY,                           )
                                             )
             Defendant.                      )

      This matter is before the Court on the motion filed by the Defendant, Christina

Zavodny, to seal the document(s) filed at Filing No. 122 (Filing No. 129).

      IT IS ORDERED:

      1.     The Defendant’s motion to seal (Filing No. 129) is granted; and

      2.     The Clerk is directed to seal Filing No. 122 and the accompanying

             documents.

      DATED this 1st day of June, 2007.

                                                 BY THE COURT:

                                                 s/Laurie Smith Camp
                                                 United States District Judge
